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Aidan W. Butler (SBN 208399)
Attorne at Law .“E
3550 11shire Boulevard, Suite 1924 1

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Los Angeles Califomia 90010 »
Telepho_ne: 213 388-5168 1
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tocontacta1dan@gmail.com § : .n 1
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Attomeys for Plaintiff BERTHA J. TAYLOR il §§ , 99
` §

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

BERTHA J. TAYLOR, an `O. 1 €"'" i~ .-'-' - _
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COMPLXINT FOR=
Plaimiff, 1) vIOLATIONS 0F THE TRUTH
IN LENDING ACT;
2) vloLATlONS oF
vs. CALIFORNIA FINANCIAL

COI)E SECTIoN 1411;

3) UNFAIR BUSINESS

SCHOOLS FEDERAL CREDIT PRACTICES;
UNTON, a federal cre,dit unjon; and
DOES 1 through 10, lncluslve, 4) VIOLATIONS OF THE
ROSENTHAL FAIR DEBT
COLLECTION PRACTICES
ACT; AND
Defendants.

5) CONVERSION.

REQUEST FOR JURY TRIAL.

 

Plaintiff BERTHA J. TAYLOR (hereinafter “Plaintiff") alleges as follows:
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/ / /

 

1 COMPLAINT

 

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2:12-cv-05529-PA-VM Documentl Filed 06/25/12 PMZ of 11 Page|D #:13

I. JURISDICTION AND VENUE.
l. Jurisdiction of this Court arises under 15 U.S.C. §1640(€) and 28 U.S.C.
§§ 133 l, 1337, and supplemental jurisdiction exists for the state law claims pursuant
to 28 U.S.C. §1367. Declaratory relief is available pursuant to 28 U.S.C. §2201 and

2202. Venue in this District is proper in that Plaintiff’s claim arose in this District.

II. THE PARTIES.

2. Plaintift` is an individual, residing in the County of Los Angeles, State of
California.

3. Defendant SCHOOLS FEDERAL CREDIT UNION (“SFCU”), is and at all
times relevant herein Was a federal credit union, and the issuer of the credit card
described below. At all times relevant herein, SFCU maintained branches within this
district, including in Carson, Rancho Dominguez, and Los Angeles, California.

4. Plaintiff does not know the true names and capacities of defendants sued
herein as DOES l through lO, inclusive, and will amend this Complaint to state their
true names and capacities when they have been ascertained.

5. Upon information and belief, Plaintiff alleges that each Defendant, both
named and designated as a DOE, was an agent, partner, or successor of each other
Defendant, and, in doing the things hereinafter alleged, Was acting Within the scope
and purpose of such agency or partnership with full knowledge of the facts and with

the ratification and approval of each other Defendant.

III. FACTUAL ALLEGATIONS.
6. Plaintiff, an employee of the Los Angeles Unified School System, became a
member of SFCU approximately ten years ago.
7. About nine years ago, Plaintiff obtained a credit card issued by SFCU
primarily for personal, family, household use.

8. After Plaintiff’s husband died, dramatically reducing Plaintiff’s family

 

2 coMPLAINT

 

 

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income, Plaintiff struggled to remain afloat financially, but Within the past year
became delinquent on the SFCU-issued personal credit card.

9. Over Plaintif`f"s express obj ections, and without her consent or authorization,
beginning in around March, 2012, and several times thereafter, SFCU withdrew
money from Plaintiff’s personal deposit accounts and applied that money to the
balance of Plaintif`f’s credit card.

lO. SFCU’s withdrawals from Plaintiff`s personal checking and savings
accounts caused the aggregate balance of Plaintiff’sdeposit accounts at SFCU to drop
below $1,000.00, in violation of Califomia Financial Code section 1411(b), or
occurred when the aggregate balance was already below $1,000.00.

11. SFCU did not provide Plaintiff With any notice or response form, despite

the requirements of California Financial Code section 1411( c).

FIRST CLAIM FOR RELIEF
(For Violations of the Truth in Lending Act Against SFCU, and DOES 1 through 5,
inclusive)

12. Plaintiff repeats and reincorporates by reference the paragraphs 1 through
11 above.

13. The actions of the defendants, and each of them, violated the Truth in
Lending Act ~ specifically, 15 U.S.C. §1666h(a)(1).

14. As a direct and proximate result of` the above-described violations of the
law, Plaintiff has suffered economic as well as other actual damages, including but
not limited to feelings of anguish, frustration, humiliation, anxiety, and stress, among
other things. For that reason, Defendants, and each of them, are liable to Plaintiff for
declaratory judgment that defendants’ conduct violated the Act, and all of Plaintiff’s

actual damages, statutory damages, costs and attorney’s fees.

 

3 coMPLAINT

 

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SECOND CLAIM FOR RELIEF
(For Violations of the California Financial Code section 1411 Against SFCU, and
DOES 1 through 5, inclusive)

15. Plaintiff repeats and reincorporates by reference the paragraphs 1 through
14 above.

16. SFCU’s withdrawals from Plaintiff"s deposit accounts caused the aggregate
balance of Plaintift`s deposit accounts at SFCU to drop below $1,000.00, in violation
of California Financial Code section 1411(b), or occurred when the aggregate balance
was already below $1,000.00.

17. SFCU did not provide Plaintiff with any notice or response form, despite

the requirements of California Financial Code section 1411( c).

THIRD CLAIM FOR RELIEF
(For State, Federal and Common Law Unfair Business Practices Against SFCU, and
l DOES 1 through 5, inclusive)

18. Plaintiff repeats and reincorporates by reference the paragraphs 1 through
17 above.

19. SFCU and DOES 1 through 5, inclusive, engaged in unfair and deceptive
acts in the conduct of their business by refusing to comply with federal and state laws
governing their business, and by seeking to collect money from Plaintiff in a manner
which contravened applicable law.

. 20. Plaintiff has suffered actual damages as a direct and proximate result of the
unfair and deceptive business practices of the defendants, and each of them.

21. Plaintiff is entitled to legal and equitable relief against the defendants, and
each of them, as permitted under California state unfair business law (including
Business and Professions Code §§ 1 7200 et. seq.), federal, and common law unfair

business law.
/ / /

 

4 coMPLAINT

 

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FOURTH CLAIM FOR RELIEF
(For Violations of the Rosenthal Fair Debt Collection Practices Act Against SFCU,
and DOES 1 through 5, inclusive)

22. Plaintiff repeats and reincorporates by reference the paragraphs 1 through
21 above.

23. Defendants SFCU and DOES 1 through 5, inclusive, are debt collectors as
defined by California Civil Code section 1788.2( c).

24. Defendants, and each of them, knowingly and wilfully violated California’s
Rosenthal Fair Debt Collection Practices Act (hereinafter the “Rosenthal Act”).
Defendants’ violations include, but are not limited to, the following acts performed in
attempting to collect a consumer debt:

a) Using false representations and deceptive means to collect or attempt to
collect a debt, in violation of 15 U.S.C. §1692e(10) and California Civil Code section
1788.17;

b) Using unfair and/or unconscionable means to collect an alleged debt, in
violation of 15 U.S.C. §1692f and California Civil Code section 1788.17;

c) Attempting to collect an amount (including any interest, fee, charge, or
expense incidental to the principal obligation) not expressly authorized by the
agreement creating the purported debt or permitted by law, in violation of 15 U.S.C.
§1992f(1) and California Civil Code section 1788.17; and

d) Failing to provide the notice required under Civil Code section 1812.700.

25 . As a result of defendants’ violations of the Rosenthal Act, pursuant to Civil
Code section 1788.30, Plaintiff is entitled to actual damages, statutory damages,

attomey’s fees and costs.

FIFTH CLAIM FOR RELIEF
(For Conversion Against SFCU, and DOES l through 5, inclusive)

26. Plaintiff repeats and reincorporates by reference the paragraphs 1 through

 

5 coMPLAINT

 

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25 above.

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27. SFCU misappropriated money owned solely by Plaintiff with a series of
unauthorized withdrawals from Plaintiff’s deposit accounts totaling approximately
$810.04. SFCU’s taking of the money was wrongful.

28. SFCU has converted that entire sum to its own use and, despite repeated
demands by Plaintiff, has refused to return any fraction of the amount wrongfully

taken.

29. As a direct and proximate result, Plaintiff has suffered economic harm

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including general damages and damages from loss of use of the money, in that

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Plaintiff has now lost the profits it would have received from the purchase and sale of

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the scrap metal.

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30. Defendants’ conduct was wanton, willful and oppressive, thus entitling

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b.)

Plaintiff to punitive and/or exemplary damages under Califomia Civil Code section
3294.

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WHEREFORE, Plaintiff prays for judgment against the Defendants as follows:

1. Statutory damages, pursuant to 15 U.S.C. section 1692k(a)(2) and/or Civil
Code section 1788.3()(b);

2. Actual damages, pursuant to 15 U.S.C. section 1692k(a)(1) and/or Civil
Code section 1788.30(a);

3. Costs and reasonable attorney’s fees, pursuant to 15 U.S.C. section
1692k(a)(3), and/or Civil Code section 1788.30(0) and/or Code of Civil Procedure
section 490.020.

4. Actual damages and statutory penalties, under 15 U.S.C. §1640(a);

5. Costs and attorney's fees, pursuant to 15 U.S.C. §1640(a);

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6. Punitive and exemplary damages; and
/ / / '
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6 COMPLAINT

 

 

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7. For such other and further relief as the Court may deem proper.

PLEASE TAKE NOTICE that plaintiff BERTHA J. TAYLOR demands a trial
by jury.

DATED: June 22, 2012 Respectfully submitted,

By: -~
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Attorne s for Pla1nt1ff
BERT J. TAYLOR

 

7 COMPLAINT

 

Case 2:12-cv-05529-PA-VBK Document 1 Filed 06/25/12 Page 8 of 11 Page |D #:19

UNITED STATES DISTRICT C()URT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Percy Anderson and the assigned
discovery Magistrate Judge is Victor B. Kenton.

The case number on all documents filed with the Court should read as follows:

cv12- 5529 PA (vBKx)

Pursuant to General Order 05-07 of the United States District Court for the Central

District of Califomia, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
liled, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following |ocation:

[X] Western Division Southern Division [_] Eastern Dlvision
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Fal|ure to tile at the proper location will result in your documents being returned to you.

 

CV-18 (03l06) NOT|CE OF ASSIGNMENT TO UN|TED STATES MAGISTRATE JUDGE FOR D|SCOVERY

Case 2:12-cv-05529-PA-V% Documen% Fg,/.ZLSO /2>5/‘1\3d PaM\Q of 11 Page |D #:20
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Aidan W. Butler (SBN 208399)
Attomey at Law

3550 Wilshire Blvd., Suite 1924

Los Angeles, CA 90010

Tel. (213) 388-5168; fax (213) 388-5178
tocontactaidan@gmail.com

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

BERTHA J. TAYLOR, an individuai, CASE NUMBER

w MM strajsaazam%)

SCHOOLS FEDERAL CREDIT UNION, a federal
credit union; and DOES 1 through 10, inclusive,

 

SUMMONS

DEFENDANT(s).

 

 

To: DEFENDANT(s):

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached Efcomplaint ij amended complaint
l:l counterclaim L'_l cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiffs attomey, Aidan W- Butler (SBN 208399) . Whose address is
3550 Wilshire Blvd., Suite 1924, Los Angeles, CA 90010 . If you fail to do 50,

judgment by default will be entered against you for the relief demanded in the complaint You also must tile
your answer or motion with the court.

Clerk, U.S. District Co!`t’m'_t’::.,:\m ‘~'\'._:"
\lUN 2 5 2012 Y,,,»d .
Dated: By: ;., 1

      
 

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(Seal of the Court) \Xca

[Use 60 days if the defendant is the United States or a United Stales agency, or is an ojicer or employee of the United States. Allowed
60 days by Rule 12(0)(3)].

 

CV-OlA (lO/ll SUMMONS

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Case cv 01§:9 © 06 0

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
C`.|VlL COVER SHEET

I(a) PLAINT[FFS (Check box if`you arc representing yourselfl:l)
BERTHA 1. TAYLOIL an individual,

DEFENDANTS
SCHOOLS FEDERAL CR_EDIT UNION, a federal credit union; and DOES 1
through 10, inclusive,

 

(b) Attomeys (Firm Name, Address and 'l`clephone Number, Il`you are representing

yourselfl provide same.)

Aidan W. Butler (SBN 208399)
3550 Wilshire Blvd., Suite 1924, Los Angeles, CA 90010
Tel_ (213) 388-5168', f`ax {213] 388-51'.18 tocontactaidan@gmtti|.com

 

Attorneys (lfKnown}

 

11. BASIS OF JURlSDlCTION (Place an X in one box only‘}

13 1 U.S. Gt)vernmcm Plaintiff

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111. CiTiZENSl-lll’ OF PRINCIPAL |’ARTIES -
(Placc nn X in one box for plaintiff and one for defendanl,)

For Divcrsity Cases On|y

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ofl‘arties in item 111] of Business in Another Statc
Citizt:n or Subjcct ofa Foretgn Cottntry l:l 3 1:| 3 Fort:ign Nation Cl 6 |;1 6

 

IV. ORIGIN (Flacc an X in one box only\)

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Proceeding State Court Appel]ate Court Reopencd District fudge from
Litigation Magisrrate Judge

 

V. REQUESTED IN COMPLA!NT: JURY DEMAND: lithes 111 No (Check ‘ch’ only it'demnnded in compia`tnt.)
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VI. CAUSE OF ACTION (Cite the U,S\ Civil Statute under which you are filing and write a brief statement of cause Do not citcjurisdictional statutes unless diversity.)

Violatinns ofthe Truth in Lending Act - 15 U.S.C. section 1666h(tt)

Vll. NATURE OF SUIT (Place an X in one box only`)

 

 

 

   
 
  
 

   

   

 

 

 

 

 

  

 

  

 

 

 

 

 

 

 

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FOR OFFICE USE ONLY:
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Casc Number;

 

 

CV-71 (051'08)

CIVll. COVER SHEET

Page l of 2

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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVlL COVER SHEET

VlIl(a). [DENTICAL CASES: Has this action been previously filed in this court and dismisscd, remanded or closcd? dNo El Yes
lfyes, list case number(s):

 

Vlll(h). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? D(No 121 Yes
lf ycs, list case number(s):

 

Civil casa are deemed related ira previously filed case and the present case:
(Check all boxes that apply) 111 A. Arisc from the same or closely related transactions happenings, or cvents; or
El B. Call for determination of the same or substantially related or similar questions of law and fact; or
111 C. For other reasons would entail substantial duplication of labor if heard by different judges; or
121 D. involve the same patent, trademark or copyright, Ld_ one of the factors identified above in a, b or c also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet ifnecessary.)

(a) List the County in this District; Califomia County outside of this District; State if other than Califomia; or Foreign Country, in which EACI-l named plaintiff resides.
D Check here if the govemment, its agencies or employees is a named plaintiff If this box is checked, go to item (b).

 

County in this District:* Califomia County outside of this District; Statc, if other than Califomia; or Forcign Country

 

Los Angeles

 

 

 

(b) List the County in this District; Califomia County outside of this District; State if other than Califomia', or Foreign Country, in which EACH named defendant resides
121F Clteck here if the govemment, its agencies or employees is a named defendant If this box is checked, go to item (c).

 

Coimty in this District:° Califomia County outside of this District; Statc, if other than Califomia; or Forcign Country

 

Los Angeles

 

 

 

 

(c) List the County in this District; Califomia County outside of this District; State if other than Califomia; or Foreign Country, in which EACI-l claim arose.
Note: In land condemnation cascs, use the location of the tract of land involved.

 

County in this District:* Califomia County outside of this District; State, if other than Califomia; or Foreign Country

 

Los Angeles

 

 

 

 

* Los Aogelcc, Orange, San Beruardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: ln land condemnation cases use the location of the tract of land involved

 

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Notice to Counsel/Partios: The CV-7l (JS-44) Civil Covcr Shect and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This form, approved by the J udicial Conference ofthc United States in September 1974, is required pursuant to Local Rule 3~1 is not filed
but is used by the Clcrk of the Court for the purpose of statistics, venue and initiating the civil docket shcet. (For more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement oi' Causc ofAction

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for codification as providers ofservices under the
program (42 U.S.C. 1935FF(b))

862 BL All claims for “Black I_.ung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Tit|e 2 ofthe Social Security Act, as
amended; plus all claims filed for child's insurance benefits based on disability (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended (42 U.S.C. 405(g))

864 SSlD All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act1 as amended

865 RSI A|l claims for retirement (old age) and survivors benefits under Title 2 of thc Social Security Act, as amended (42
U.S.C. (g))

 

CV-7I (05/08) CIVlL COVER SHEET - Pagc 2 of 2

